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                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                              UNITED STATES BANKRUPTCY COURT                                           August 05, 2022
                                SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

In re:                                                        §
                                                              §        Case No. 22-60043
FREE SPEECH SYSTEMS, LLC,                                     §        Chapter 11 (Subchapter V)
                                                              §
         Debtor.                                              §

    ORDER (A) AUTHORIZING THE DEBTOR TO PAY PREPETITION OBLIGATIONS
      OF CERTAIN CRITICAL VENDORS AND (B) GRANTING RELATED RELIEF

         Upon the Debtor’s Motion for Order (A) Authorizing the Debtor to Pay Prepetition

Obligations of Certain Critical Vendors and (B) Granting Related Relief (the “Motion”) 1 filed on

July 29, 2022; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the requested relief

being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been

provided, and it appearing that no other or further notice need be provided; and the Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefor, IT IS HEREBY

ORDERED THAT:

         2.        1.     The Debtor is authorized to pay in the ordinary course of its business to (a)

pay the prepetition obligations owed to the Critical Vendors in the amounts set forth in Schedule

1 attached hereto as those obligations come due and shall consult with the Subchapter V Trustee

and provide requested information with respect to each proposed payment in advance of remitting

the same to Critical Vendors. Any party that accepts payments from the Debtor on account of a



1
 Capitalized terms used by not otherwise defined in this Order shall have the meanings ascribed to such terms in the
Motion.
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Critical Vendor claim shall be deemed to have agreed to the terms and provisions of this order.

The payment of the Obligations is conditioned upon the agreement of each Critical Vendor to

continue supplying services on terms and based on practices and programs in effect between the

Critical Vendor and the Debtor in the year prior to the Petition Date (the “Customary Trade

Terms”), or such other trade terms as are agreed to by the Debtor and the Critical Vendor.

       3.      The Debtor shall have the right to negotiate new trade terms with the Critical

Vendor as a condition to payment of a portion of the obligations owed to each Critical Vendor (the

“Obligations”).

       4.      Any payments made on Obligations pursuant to this Motion shall be applied first

to any claim of such Critical Vendors under section 503(b)(9) of the Bankruptcy Code. Nothing

in this Motion or any order of this Court approving this Motion should be construed as a waiver

by the Debtor of its rights to contest any invoice of a Critical Vendor under applicable non-

bankruptcy law.

       5.      If a Critical Vendor refuses to supply services to the Debtor on Customary Trade

Terms following payment of any portion of the Obligations, the Debtor, in its discretion, and

without further order of the Court, may deem any payments made to the Critical Vendor on

account of the Obligations to have been in payment of then-outstanding post-petition claims of

the Critical Vendor and to terminate the critical vendor status of such a vendor (the “Terminated

Obligor”).

       6.      In the event the Debtor chooses not to terminate the critical vendor status of a

Critical Vendor immediately upon a refusal by a Critical Vendor to provide services in

accordance with Customary Trade Terms, the Debtor shall not be deemed to have waived the

ability to terminate a Critical Vendor or waived the ability to deem any payments made to the
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Critical Vendor on account of the Obligations to have been in payment of then-outstanding post-

petition claims of such Critical Vendor or to compel disgorgement of payments made to such

Critical Vendor pursuant to this order.

       7.      In the event the Debtor exercises the rights set forth in the preceding paragraph, the

Terminated Obligor shall be required to immediately return any payments made on account of its

Obligations to the extent that such payments exceed the post-petition amounts then owed to the

Terminated Obligor, without giving effect to any rights of setoff or reclamation. In the event that

the Terminated Obligor refuses to acknowledge such recharacterization and to issue the

repayment, the Debtor is authorized to compel such recharacterization and repayment by a motion

on such notice as is required by this Court. In addition, the Debtor shall have the right to compel

the disgorgement of the Critical Vendor payment repayment by a motion on such notice as is

required by this Court.

       8.      The Debtor shall maintain a matrix/schedule of amounts directly or indirectly paid,

subject to the terms and conditions of this Order, including the following information: (a) the

names of the payee; (b) the amount of the payment; (c) the category or type of payment, as further

described and classified in the Motion; and (d) the payment date. On or before the date that is thirty

(30) days from entry of this Order, the Debtor shall provide a copy of such matrix/schedule to the

U.S. Trustee, the Subchapter V trustee appointed in this case, and any committee appointed in this

Chapter 11 Case. Thereafter, the Debtor shall attach a copy of such matrix/schedule to its monthly

operating reports filed in the Chapter 11 Case containing the same information set forth above.

Parties in interest shall then have fourteen (14) calendar days to file written objections to Critical

Third-Party Vendor status or any payment made by the Debtor pursuant to this Order. If the
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objection is sustained, the Critical Third-Party Vendor may be required to disgorge any such

payments.

       9.      Nothing in this Order or the Motion shall limit xx
                                                               (a) the Debtor’s authority to pay

obligations to creditors that were incurred by the Debtor after the Petition Date.

       10.     Nothing in this Order or any actions taken pursuant to such relief is intended or

shall be construed as (a) an admission as to the amount of, basis for, or validity of any claim against

the Debtor under the Bankruptcy Code or other applicable nonbankruptcy law, (b) a waiver of the

Debtor’s or any other party in interest’s right to dispute any claim on any ground, (c) a promise or

requirement to pay any claim, (d) an implication or admission that any particular claim is of a

type specified or defined in this motion or any order granting the relief requested in this motion

or a finding that any particular claim is an administrative expense claim or other priority claim,

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code, (f) an admission as to the validity, priority,

enforceability, or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtor’s estate, (g) a waiver or limitation of the Debtor’s or any other party in interest’s

rights under the Bankruptcy Code or any other applicable law, or (h) a concession from the Debtor

that any liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to

the relief requested in this motion are valid, and the rights of all parties in interest are expressly

reserved to contest the extent, validity, or perfection or seek avoidance of all such liens.

       11.     Any payment made pursuant to the Court’s order is not intended and should not be

construed as an admission as to the validity of any particular claim or a waiver of the Debtor’s or

any other party in interest’s rights to subsequently dispute such claim.
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       12.     This Order shall be immediately effective and enforceable upon its entry and shall

not be stayed by Bankruptcy Rule 6004(h), if applicable.

       13.     The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.



Dated: _____________________, 2022
           August05,
           August 02,2022
                      2019


                                             __________________________________________
                                             UNITED STATES BANKRUPTCY JUDGE
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                                                                    SCHEDULE 1 TO ORDER


                                                                               Amount of Critical
               Vendor                                Description                Vendor Claim                   Address                 City        State     Zip

Addshoppers, Inc                           E Commerce Store                $            2,191.93    222 S. Church Street #410M      Charlotte NC               28202
Amazon Web Services                        E Commerce Store                $           77,000.00
ATXHD,Inc                                  Satellite uplink                $           19,334.48    602 S. Cowal Drive              Spicewood TX                78669
Austin Security & Investigation Solution   Uniformed Security              $           28,044.34    P.O. Box 2904                   PflugervilleTX              78691
Balcones Recycling Inc.                    Trash / Dumpster Service        $              386.99    P.O. Box 679912                 Dallas      TX              75267
Cloudflare, Inc                            IT / E Commerce Security        $          124,162.64    Dept LA 24609                   Pasadena CA            91185-4609
eCommerce CDN LLC                          E Commerce Store                $            1,070.85    221 E 63rd Street               Savannah GA                 31405
Edgecast, Inc.                             Radio Station Link              $            6,449.30    Dept CH 18120                   Palatine IL                 60055
Frost Insurance Agency                     Company Insurance               $            2,694.52    401 Congress Ave., 14th Floor   Austin      TX              78701
Getty Images, Inc                          Licenses for Pictures / Video   $           10,121.38    P.O. Box 953604                 St. Louis   MO         63195-3604
Haivision Network Video                    Streaming Bandwidth             $           54,851.50    Dept CH 19848                   Palatine IL            60055-9848
Magento                                    E Commerce Store                $            7,792.40    P.O. Box 204125                 Dallas      TX         75320-4105
mongoDB Cloud                              Cloud Storage                   $            3,054.44    1633 Broadway 39th Floor        New York NY                 10019
Protection 1 Alarm                         Alarm Service                   $            3,461.42
Synergy North America Inc                  e commerce software             $            2,061.49    11001 W. 120th Ave. Suite 400 Broomfield CO                80021
The Hartford                               Company Insurance               $            2,780.35
Travelers                                  Company Insurance               $              673.48
TrustArc                                                                   $            1,221.46
WMQM-AM 1600                               Advertising                     $            2,291.67    21 Stephen Hill Rd              Atoka     TN                38004
WWCR                                       Advertising                     $            9,900.00    1300 WWCR Avenue                Nashville TN           37218-3800

                                           Total Critical Vendors          $          359,544.62
